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iN THE UNITED s'rATEs nis'rRicr CoURT ' --

non THE wESTERN DISTRICT oF TENNESSEE 05 t~ti'i‘r 1 y DH 3. h
wEsTERN DIvIsIoN ‘ - JB

 

MARVIN RAY SPEARS,
Plaintiff,

v. No. 03-2961-B

CANADIAN NATIONAL/ILLINOIS

CENTRAL RAILROAD, f/kfa

ILLINOIS CENTRAL RAILROAD,

Defendant.

 

ORDER DIRECTING PARTIES TO SUBMIT ADDITIONAL BRIEFS

 

On April 7, 2005 , the Court entered an order holding Defendant’s motion for summary
judgment and/or motion to dismiss in abeyance The basis of the order was that the district
court clerk had failed to obtain a certified copy of the proceedings involving the Plaintiff from
the National Railway Adjustment Board, in accordance with 45 U.S.C. § 153 First (q). Thus,
the Court determined that the Defendant’s motion for summary judgment and/or motion to
dismiss would be held in abeyance until the Court received a copy of the RLAB record. On
May 9, 2005, a record of the proceedings on which the National Mediation Board based its
action in Public Law Board No. 6131, Award No. 9, involving the Plaintiff, Marvin Ray Spears,
was filed with the clerk.

Inasmuch as the record of the RLAB has been submitted to the clerk’s office, the parties
are hereby directed to file, if they so desire, any additional briefing within 30 days of the entry

of this order to reflect this record. Having previously reviewed the parties pleadings, a number

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of references were made to the record, parts of which were probably already in the possession
of the parties. Nonetheless, in order to allow both the Plaintiff and the Defendant full
opportunity to rely and/or cite to the record before the Court, such additional briefings will be
permitted lf no such additional briefs are submitted within the 30 day period, the Court will
proceed to consider the record, including the RLAB record, which is presently before the Court.

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IT rs so oRDERED this l 14f day of May, 2005.

 

. DANIEL BREEN
NIT STATES DISTRICT UDGEl

 

ESTENR 1

F TENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 38 in
case 2:03-CV-02961 was distributed by f`aX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

